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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                         Southern District of Texas, Houston Division


 Case number (if known):                                         Chapter        11                                                  ❑Check if this is an
                                                                                                                                       amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                   04/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For more
information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



  1. Debtor's name                                Pangea Industries, Inc.


  2. All other names debtor used                  Leblanche Industries, Inc
     in the last 8 years

      Include any assumed names,
      trade names, and doing
      business
      as names



  3. Debtor's federal Employer                    6      1 – 1    8     5   0        5   0     2
     Identification Number (EIN)



  4. Debtor's address                             Principal place of business                                   Mailing address, if different from principal
                                                                                                                place of business

                                                  910 Pinafore Ln
                                                  Number         Street                                         Number     Street



                                                                                                                P.O. Box
                                                  Houston, TX 77039-1416
                                                  City                                       State   ZIP Code
                                                                                                                City                         State      ZIP Code

                                                  Harris                                                        Location of principal assets, if different from
                                                  County
                                                                                                                principal place of business


                                                                                                                Number     Street




                                                                                                                City                         State      ZIP Code




  5. Debtor's website (URL)


  6. Type of debtor                               ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:

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Debtor        Pangea Industries, Inc.                                           Case number (if known)
             Name
                                        A. Check one:
  7. Describe debtor's business
                                        ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        ❑Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        ❑Railroad (as defined in 11 U.S.C. §101(44))
                                        ❑Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        ❑Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        ❑Clearing Bank (as defined in 11 U.S.C. §781(3))
                                        ✔None of the above
                                        ❑
                                        B. Check all that apply:
                                        ❑   Tax-exempt entity (as described in 26 U.S.C. §501)

                                        ❑   Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                        ❑   Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes
                                           debtor. See http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                           3   3    1   2

  8. Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                        ❑ Chapter 7
                                        ❑ Chapter 9
                                        ✔ Chapter 11. Check all that apply:
                                        ❑
                                           ✔ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                           ❑
                                                  insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                  4/01/22 and every 3 years after that).
                                             ✔
                                             ❑    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                  debtor is a small business debtor, attach the most recent balance sheet, statement
                                                  of operations, cash-flow statement, and federal income tax return or if all of these
                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                             ❑    A plan is being filed with this petition.

                                             ❑    Acceptances of the plan were solicited prepetition from one or more classes of
                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                             ❑    The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                  Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                             ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                  Rule 12b-2.
                                        ❑   Chapter 12

  9. Were prior bankruptcy cases        ✔No
                                        ❑
     filed by or against the debtor
     within the last 8 years?
                                        ❑Yes.    District                                    When                    Case number
                                                                                                    MM / DD / YYYY

     If more than 2 cases, attach a              District                                   When                     Case number
     separate list.                                                                                 MM / DD / YYYY


 10. Are any bankruptcy cases           ✔No
                                        ❑
                                        ❑Yes.
     pending or being filed by a
     business partner or an                      Debtor                                                          Relationship
     affiliate of the debtor?                    District                                                            When
                                                                                                                                MM / DD / YYYY
     List all cases. If more than 1,
                                                 Case number, if known
     attach a separate list.

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Debtor        Pangea Industries, Inc.                                                Case number (if known)
             Name


 11. Why is the case filed in           Check all that apply:
     this district?
                                        ✔Debtor has had its domicile, principal place of business, or principal assets in this district
                                        ❑
                                           for 180 days immediately preceding the date of this petition or for a longer part of such
                                           180 days than in any other district.

                                        ❑A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending
                                           in this district.

 12. Does the debtor own or             ✔No
                                        ❑
     have possession of any
     real property or personal
                                        ❑Yes.     Answer below for each property that needs immediate attention. Attach additional sheets
                                                  if needed.
     property that needs
     immediate attention?                         Why does the property need immediate attention? (Check all that apply.)
                                                  ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                      health or safety.
                                                       What is the hazard?


                                                  ❑ It needs to be physically secured or protected from the weather.
                                                  ❑ It includes perishable goods or assets that could quickly deteriorate or lose value
                                                      without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                      securities-related assets or other options).
                                                  ❑ Other
                                                  Where is the propery?
                                                                              Number        Street




                                                                              City                                       State


                                                                                 ZIP Code

                                                  Is the property insured?
                                                  ❑No
                                                  ❑Yes.        Insurance agency
                                                               Contact name
                                                               Phone

         Statistical and administrative information

     13. Debtor’s estimation of         Check one:
         available funds?               ❑Funds will be available for distribution to unsecured creditors.
                                        ✔After any administrative expenses are paid, no funds will be available for distribution to
                                        ❑
                                           unsecured creditors.

     14. Estimated number of            ❑    1-49   ✔
                                                    ❑    50-99           ❑    1,000-5,000                        ❑   25,001-50,000
         creditors                      ❑    100-199    ❑      200-999   ❑    5,001-10,000                       ❑   50,000-100,000
                                                                         ❑    10,001-25,000                      ❑   More than 100,000


     15. Estimated assets               ❑    $0-$50,000                      ✔
                                                                             ❑   $1,000,001-$10 million              ❑   $500,000,001-$1 billion
                                        ❑    $50,001-$100,000                ❑   $10,000,001-$50 million             ❑   $1,000,000,001-$10 billion
                                        ❑    $100,001-$500,000               ❑   $50,000,001-$100 million            ❑   $10,000,000,001-$50 billion
                                        ❑    $500,001-$1 million             ❑   $100,000,001-$500 million           ❑   More than $50 billion




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Debtor        Pangea Industries, Inc.                                                   Case number (if known)
             Name




                                        ❑   $0-$50,000                          ✔
                                                                                ❑   $1,000,001-$10 million                     ❑   $500,000,001-$1 billion
     16. Estimated liabilities
                                        ❑   $50,001-$100,000                    ❑   $10,000,001-$50 million                    ❑   $1,000,000,001-$10 billion
                                        ❑   $100,001-$500,000                   ❑   $50,000,001-$100 million                   ❑   $10,000,000,001-$50 billion
                                        ❑   $500,001-$1 million                 ❑   $100,000,001-$500 million                  ❑   More than $50 billion


         Request for Relief, Declaration, and Signatures


 WARNING --         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
                    up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
         of authorized
                                              I have been authorized to file this petition on behalf of the debtor.
         representative of debtor
                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                             Executed on     09/02/2019
                                                             MM/ DD/ YYYY



                                         ✘                     /s/ Marco Pesquera                                                   Marco Pesquera
                                             Signature of authorized representative of debtor                     Printed name


                                             Title                       President



     18. Signature of attorney
                                         ✘                   /s/ Michael L. Hardwick                              Date         09/02/2019
                                                                                                                               MM/ DD/ YYYY
                                             Signature of attorney for debtor



                                              Michael L. Hardwick
                                             Printed name


                                              Michael Hardwick Law, PLLC
                                             Firm name


                                              2200 North Loop W, Ste 116
                                             Number          Street


                                              Houston                                                                 TX               77018-1753
                                             City                                                                     State            ZIP Code



                                              (832) 930-9090                                                           michael@michaelhardwicklaw.com
                                             Contact phone                                                             Email address



                                              24088745                                                                 TX
                                             Bar number                                                                State




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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF TEXAS
                                                                 HOUSTON DIVISION

IN RE: Pangea Industries, Inc.                                                               CASE NO

                                                                                             CHAPTER 11




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       09/02/2019              Signature                                     /s/ Marco Pesquera
                                                                              Marco Pesquera, President
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                        Action Communication
                        Technology Inc
                        27417 Hanna Rd
                        Conroe, TX 77385-6623



                        Airgas USA LLC
                        Po Box 1152
                        Tulsa, OK 74101-1152




                        Aldine ISD
                        14909 Aldine Westfield Rd
                        Houston, TX 77032-3027




                        American Piping Products
                        825 Maryville Centre Dr Ste 310
                        Chesterfield, MO 63017-5946




                        Aramark
                        2680 Palumbo Dr
                        Lexington, KY 40509-1234




                        AT&T
                        Po Box 5001
                        Carol Stream, IL 60197-5001




                        AT&T
                        Po Box 105414
                        Atlanta, GA 30348-5414




                        Blumenthal Sheet Metal
                        1710 Burnett St
                        Houston, TX 77026-7213
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                        Bolts 'N Nuts Plus
                        Po Box 670606
                        Houston, TX 77267-0606




                        Carl Blackwood
                        c/o Christopher Stevenson
                        3120 Soutwest Feeway Ste 320
                        Houston, TX 77098



                        Comda Advertising
                        Connections
                        2916 Walden Ave Ste 400
                        Depew, NY 14043-2610



                        Conroe Welding Supply Inc
                        415 S Frazier St
                        Conroe, TX 77301-5006




                        County Forklift Inc
                        1201 Aldine Bender Rd
                        Houston, TX 77032-2903




                        Del-Phi Engineering Inc
                        Po Box 1191
                        Conroe, TX 77305-1191




                        DNV GL Business Assurance
                        USA Inc
                        1400 Ravello Rd
                        Katy, TX 77449-5164



                        Eugenio Garza
                        2205 S 49th St
                        Mcallen, TX 78503-8118
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                        Fastenal
                        425 Aldine Bender Rd Ste A
                        Houston, TX 77060-4435




                        Felix Castillo
                        1506 Birchwood St
                        Houston, TX 77093-1808




                        First Insurance Funding
                        450 Skokie Blvd Ste 1000
                        Northbrook, IL 60062-7917




                        Gulf Rubber & Supply
                        1120 Mcdaniel St
                        Houston, TX 77022-3848




                        Harris County Constable's
                        Office
                        Precinct 1
                        c/o Constable Alan Rosen
                        1302 Preston, Ste 301
                        Houston, TX 77002


                        Harris County Tax Assessor
                        Collector
                        Po Box 3547
                        Houston, TX 77253-3547



                        Harris County Treasurer
                        1001 Preston St Ste 652
                        Houston, TX 77002-1816




                        HEB Grocery
                        14141 Southwest Fwy
                        Sugar Land, TX 77478-3493
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                        Heritage-Crystal Clean, LLC
                        2175 Point Blvd Ste 375
                        Elgin, IL 60123-9211




                        HP Sears
                        2000 18th St
                        Bakersfield, CA 93301-4208




                        Internal Revenue Service
                        Po Box 7346
                        Philadelphia, PA 19101-7346




                        J&L Sheet Metal Co Inc
                        14102 Chrisman Rd
                        Houston, TX 77039-1506




                        Karen Campos
                        5402 Renwick Dr
                        Houston, TX 77081-1538




                        Kings Cash Group LLC
                        CashCrunch
                        30 Broad St 12th Fl
                        New York, NY 10004-2304



                        Kings Cash Group LLC
                        c/o Freedman & Price PC
                        1102 West Ave Ste 200
                        Austin, TX 78701-2020



                        Mireaux Management
                        Solutions
                        12802 Willow Centre Dr
                        Houston, TX 77066-3035
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                        North Shore Steel
                        1566 Miles St
                        Houston, TX 77015-6319




                        Omar Andre Morales
                        1426 Health Cote Ln
                        Houston, TX 77073




                        Ourco Supply Corp
                        7413 Breen Dr
                        Houston, TX 77086-3634




                        Pangea Industrial Group
                        3303 Chimney Rock Rd Ste 100
                        Houston, TX 77056




                        Fernando Pompa
                        1730 Crestline
                        Houston, TX 77093




                        PPG Architectural Finishes
                        Inc
                        Po Box 676340
                        Dallas, TX 75267-6340



                        Premium Solutions
                        14406 Spring Mountain Dr
                        Tomball, TX 77377-3968




                        Progressive Commercial
                        Po Box 650201
                        Dallas, TX 75265-0201
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                        Annette Ramirez
                        2520 WW Thorne Blvd
                        Houston, TX 77073-3406




                        Republic Services
                        8101 Little York Rd
                        Houston, TX 77016-2435




                        Jorge Rodriguez
                        226 Sulky Trail St
                        Houston, TX 77060-4102




                        Rogue Waste Recovery &
                        Environmental Inc
                        Po Box 258
                        Conroe, TX 77305-0258



                        Romer Bancho
                        8007 Tahoe Parke Cir
                        Austin, TX 78726-4022




                        Samuel Son & Co (USA) Inc
                        5022 Ashley Ct
                        Houston, TX 77041-6911




                        Samuel Son & Co (USA) Inc
                        c/o H. Brad Parker
                        2180 North Loop W Ste 510
                        Houston, TX 77018-8002



                        Cesar Segura
                        12409 W Hardy Rd
                        Houston, TX 77037-3523
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                        Staples Business Credit
                        Po Box 105638
                        Atlanta, GA 30348-5638




                        Steel Supply LP
                        10600 Telephone Rd
                        Houston, TX 77075-4514




                        Steel Supply LP
                        14130 West Rd
                        Houston, TX 77041-1134




                        Superior Shot Peening Inc
                        c/o Receivable Management Services LLC
                        Po Box 19646
                        Minneapolis, MN 55419-0646



                        Tax Loans USA Ltd
                        c/o Daniel W Schreimann
                        8445 Freeport Pkwy Ste 175
                        Irving, TX 75063-2778



                        Michele Taylor
                        7219 Haverton Dr
                        Houston, TX 77016-2333




                        Texas Mutual Insurance
                        Company
                        Po Box 841843
                        Dallas, TX 75284-1843



                        Texas State Disbursement
                        Unit
                        Po Box 659791
                        San Antonio, TX 78265-9791
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                        Texas Workforce Commission
                        101 E 15th St
                        Austin, TX 78778-1442




                        TG Galleria Place Corp
                        c/o Brian D. Womac
                        8301 Katy Fwy
                        Houston, TX 77024-1944



                        Triple-S Steel Supply Co
                        6000 Jensen Dr
                        Houston, TX 77026-1113




                        Alejandro Trujillo
                        2450 Verhalen
                        Houston, TX 77039




                        TX Comptroller of Public Accts
                        Bankruptcy Section
                        Po Box 13528
                        Austin, TX 78711-3528



                        TXU Energy
                        Po Box 650638
                        Dallas, TX 75265-0638




                        Verizon
                        Po Box 489
                        Newark, NJ 07101-0489




                        Viking Delivery Service
                        Po Box 40786
                        Houston, TX 77240-0786
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                        Waste Management of Texas
                        9821 Katy Fwy Ste 700
                        Houston, TX 77024-1230




                        Waste Management of Texas
                        c/o Jon D. Totz
                        2211 Norfolk St Ste 510
                        Houston, TX 77098-4048
